       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Cindy Lynn Whitehurst
        v. Commonwealth of Virginia
        Record No. 0531-13-1
        Opinion rendered by Judge Frank on
        March 11, 2014

    2. Alexander J. Dennos, Jr.
        v. Commonwealth of Virginia
        Record No. 0635-13-1
        Opinion rendered by Judge Kelsey on
        March 11, 2014

    3. Dung Thi Thach and Carlos Mendoza
        v. Arlington County Department of Human Services
        Record No. 1309-13-4
        Opinion rendered by Judge Humphreys on
        March 18, 2014

    4. Joseph Alfonso Papol
        v. Commonwealth of Virginia
        Record No. 1765-12-1
        Opinion rendered by Judge Kelsey on
         March 18, 2014

    5. Raheem Chabezz Johnson
        v. Commonwealth of Virginia
        Record No. 1941-12-3
        Opinion rendered by Judge Beales on
        March 25, 2014

    6. Michael Ryan Bruton
        v. Commonwealth of Virginia
        Record No. 1636-12-1
        Opinion rendered by Judge Alston on
        April 1, 2014

    7. 1st Stop Health Services, Inc., d/b/a 1st Stop Home Care
        v. Department of Medical Assistance Services, Cynthia B. Jones, Director
        Record No. 1418-13-4
        Opinion rendered by Judge McCullough on
         April 8, 2014
